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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


IN RE: SPECIALTY RETAIL SHOPS
HOLDING CORP. ET AL.,                                           8:19CV00405

                                                                   ORDER




       This matter is before the Court on its own motion. The Court intends to follow the

procedures set forth in Fed. R. Bankr. P. 8001 et seq. In the absence of direction to the

contrary, the parties shall comply by those Rules. Because a supplemental record was

filed, the parties have requested clarification on the briefing schedule in this case.

Accordingly, from the date of this order, the parties shall file briefs within the deadlines

established by Fed. R. Bankr. P. 8018. The briefs must meet the requirements of that

rule, Fed. R. Bankr. P. 8014, and Fed. R. Bankr. P. 8015. Any proposed changes to the

briefing schedule should be submitted by motion.

       IT IS ORDERED:

       1.     The appellants must serve and file a brief within 30 days after the date of

              this Order;

       2.     The appellees must serve and file a brief within 30 days after service of the

              appellants’ brief; and

       3.     Unless otherwise ordered, the briefs must meet the requirements of Federal
              Rules of Bankruptcy Procedure.

       Dated this 1st day of October, 2019.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Senior United States District Judge
